It is ordered and adjudged by this court, that the judgment of the said Court of Appeals be, and the same hereby is, reversed; and this court proceeding to render the judgment that the Court of Appeals should have rendered, it is ordered and adjudged that the judgment of the Court of Common Pleas be, and the same hereby is, affirmed.
This court finds from the record that the Boxing and Wrestling Commission was authorized to adopt rules; that that commission adopted such rules; that the defendants in error entered into an agreement making such rules govern the contest, and that the rules lodged discretion in such commission, which discretion was exercised in accordance therewith. *Page 184 
Mandamus will lie to compel, but not to control, the exercise of discretion. State, ex rel. Armstrong, v. Davey, Governor,ante, 160.
  Judgment of the Court of Appeals reversed, and that of Common Pleas affirmed.
WEYGANDT, C.J., STEPHENSON, WILLIAMS, JONES, MATTHIAS and ZIMMERMAN, JJ., concur.